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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                               )
IN RE: NEW ENGLAND COMPOUNDING                 )
PHARMACY, INC. PRODUCTS LIABILITY              )
LITIGATION                                     )   MDL No. 1:13-md-2419-FDS
                                               )
This Document Relates to:                      )
      All Cases                                )
                                               )
                                               )
IN RE: NEW ENGLAND COMPOUNDING                 )
PHARMACY CASES                                 )
                                               )    Master Docket No. 12-12052-FDS
This Document Relates to:                      )
      All Cases                                )
                                               )

    POST-HEARING MEMORANDUM OF THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS IN SUPPORT OF CHAPTER 11 TRUSTEE'S MOTION TO
  TRANSFER PERSONAL INJURY TORT AND WRONGFUL DEATH CASES TO
         THIS COURT PURSUANT TO 28 U.S.C. § 157(b)(5) AND 1334

       The Official Committee of Unsecured Creditors (the “Official Committee”) in the

Chapter 11 case (the “Chapter 11 Case”) of New England Compounding Pharmacy, Inc. d/b/a

New England Compounding Center (“NECP” or the “Debtor”), by and through its undersigned

counsel, respectfully submits this Post-Hearing Memorandum (the “Memorandum”) pursuant to

which the Official Committee joins the Trustee’s Post-Hearing Memorandum in Support of the

Chapter 11 Trustee’s Motion to Transfer Personal Injury Death Cases to this Court Pursuant to

28 U.S.C. §§ 157(b)(5) and 1334 (the “Trustee’s Memorandum”) and provides additional

arguments in support of the Chapter 11 Trustee’s Motion to Transfer Personal Injury Death

Cases to this Court Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334 (the “Trustee’s Transfer

Motion”).   In support of this Memorandum, the Official Committee respectfully states as

follows:
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I.     Increasing Indemnity And Contribution Claims Against The Estate Will Likely
       Dilute Distributions To Tort Claimants

       1.      At the May 14th hearing (the “Hearing”), this Court posed several questions to the

Trustee’s counsel regarding the potential effects of contribution and indemnity claims against

NECP, particularly in connection with the consequences of allowing plaintiff claims against non-

Debtors (who are potentially liable for injuries resulting from the contamination of NECP

products) to continue to be prosecuted in state courts outside of the centralized control and

supervision of this Court. The Official Committee respectfully submits that the increase in the

number and amounts of indemnity and contribution claims against NECP resulting from the

continued prosecution of these cases in state courts – including the fact that these claims will

have the likely effect of diluting distributions to tort claimants in the Chapter 11 Case – require

the centralization (and resulting control and supervision) of all actions in this Court, as explained

more fully below, in the Trustee’s post-hearing submission to this Court and in the Trustee’s and

Official Committee’s prior submissions to this Court.

       2.      At the Hearing, the Official Committee raised Bankruptcy Code Sections 509(c)

and 510, and per this Court’s authorization to submit supplemental briefing, the Official

Committee hereby expands on the impact and meaning of these sections, as well as Bankruptcy

Code Section 502(e), in the context of this particular case.

       3.      If the Court does not grant the Trustee’s Transfer Motion, the Trustee and the

Official Committee will be compelled to monitor actions against non-Debtor third parties in

other forums, because an excessive judgment in another court would impair the Trustee’s ability

to make fair and equitable distributions to creditors in the Chapter 11 Case, many of whom are

tort victims in this MDL Proceeding. To the extent that tort victims obtain and satisfy judgments

against non-Debtor third parties, those entities would have indemnity or contribution claims

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against the estate that would likely rank equally with the claims of other unsecured creditors,

including tort victims, thereby reducing recoveries to these and other creditors.

       4.       A review of several sections of the Bankruptcy Code assists in understanding the

relative priorities of non-Debtor third parties as compared to other claimants. Read together,

Bankruptcy Code Sections 502(e)1 and 509(c)2 require a non-Debtor third party who is “co-

liable” with the debtor to elect either (i) a claim for reimbursement or contribution under

Bankruptcy Code Section 502 (where a claim is allowed if and when it becomes fixed and non-

contingent), or (ii) subrogation under Bankruptcy Code Section 509(c) (which would permit the

non-Debtor third party to assert the tort victim’s claim). See 11 U.S.C. § 502(e); 11 U.S.C. §

509(c); see also 4 Collier on Bankruptcy ¶ 502.06[2][e]. In either case, the non-Debtor third

party’s claim will be subordinated to the underlying tort victim’s claim, but only until that tort

victim's claim is paid in full. See 11 U.S.C. § 509(c).




1
       Pursuant to Bankruptcy Code Section 502(e):

       (1) Notwithstanding subsections (a), (b), and (c) of this section and paragraph (2) of this subsection, the
       court shall disallow any claim for reimbursement or contribution of an entity that is liable with the debtor
       on or has secured the claim of a creditor, to the extent that—

                (A) such creditor’s claim against the estate is disallowed;
                (B) such claim for reimbursement or contribution is contingent as of the time of allowance or
                disallowance of such claim for reimbursement or contribution; or
                (C) such entity asserts a right of subrogation to the rights of such creditor under section 509 of this
                title.

       (2) A claim for reimbursement or contribution of such an entity that becomes fixed after the
       commencement of the case shall be determined, and shall be allowed under subsection (a), (b), or (c) of this
       section, or disallowed under subsection (d) of this section, the same as if such claim had become fixed
       before the date of the filing of the petition.

       11 U.S.C. § 502(e).
2
       Bankruptcy Code Section 509(c) provides “[t]he court shall subordinate to the claim of a creditor and for
       the benefit of such creditor an allowed claim, by way of subrogation under this section, or for
       reimbursement or contribution, of an entity that is liable with the debtor on, or that has secured, such
       creditor’s claim, until such creditor’s claim is paid in full, either through payments under this title or
       otherwise.” 11 U.S.C. § 509(c).

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       5.      Pursuant to Bankruptcy Code Section 502(e), the bankruptcy court must disallow

“any claim for reimbursement or contribution” by an entity co-liable with the debtor to the extent

(A) the creditor’s claim has been disallowed; (B) the claim for reimbursement or contribution is

contingent at the time of allowance of disallowance of the claim; or (C) the entity asserts a right

of subrogation under Bankruptcy Code Section 509(c). See 11 U.S.C. § 502(e). The purpose of

the contingent claim disallowance provision of Bankruptcy Code Section 502(e)(1)(B) is to

eliminate the risk of double recovery against a debtor that could otherwise result if the

underlying creditor was permitted to recover its full allowed claim and the party seeking

contribution or reimbursement were allowed to recover on its claim even if it remained

contingent. S. Rep. No. 95-989, at 65 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, 5851

(explaining that Bankruptcy Code Section 502(e)(1)(B) was drafted to “prevent[] competition

between a creditor and his guarantor for the limited proceeds in the estate”). Thus, if a claim for

contribution or reimbursement has become fixed and non-contingent by the time its allowance is

considered, it is allowable.

       6.      It is notable that nothing in the Bankruptcy Code requires that allowance of all

claims be decided prior to confirmation of a plan. Indeed, in many cases claim resolution

continues well beyond confirmation, and courts frequently consider questions as to whether

claims for reimbursement or contribution are contingent under Bankruptcy Code Section 502(e)

well after plan confirmation. See, e.g., Sorensen v. Drexel Burnham Lambert Grp. (In re The

Drexel Burnham Lambert Grp.), 146 B.R. 92 (S.D.N.Y. 1992) (considering disallowance of

indemnification claim). And even if a claim is disallowed as contingent pursuant to Bankruptcy

Code Section 502(e)(1)(B), there is a possibility under Bankruptcy Code Section 502(j) that it

might be reconsidered when the contingency is resolved. See In re Drexel Burnham Lambert



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Grp., 148 B.R. 982, 991 (Bankr. S.D.N.Y. 1992) (disallowing reimbursement claim but holding

disallowance was subject to the right to have the disallowed claim reconsidered if the

contingency was resolved in the future).

        7.      For these reasons, any plan of reorganization likely will need to contain reserves

to pay any contingent claims that subsequently become fixed. Moreover, the necessity to

maintain these reserve funds may prohibit the Trustee from making interim distributions on any

claims, until all contingent claims are allowed or disallowed. While the Bankruptcy Code does

permit claim estimation for purposes of voting or distribution, see 11 U.S.C. § 502(c),

bankruptcy courts rarely exercise such authority with respect to distribution. Indeed, estimation

is only appropriate when it would “unduly delay the administration of the case.” 11 U.S.C. §

502(c).3 Thus, the very existence of contingent claims as of plan confirmation will likely delay

distributions to any unsecured creditors until these claims have been resolved. Transferring all

of the cases to this Court will ensure that this Court may monitor, control and supervise the

progress of all actions, including those that may lead to contingent claims in the Chapter 11

Case.

        8.      Bankruptcy Code Section 509(c) is also necessary to an understanding of the

treatment of claims for reimbursement and contribution. Pursuant to Bankruptcy Code Section

509(c), the bankruptcy court will subordinate the claim of a co-liable party against the estate,

such as a subrogation claim or the indemnity or contribution claim of a non-Debtor third party, to

the claim of an underlying creditor such as a tort claimant until the creditor is paid in full. See




3
        To the extent that claims are disallowed under Bankruptcy Code Section 502(e)(1)(B), estimation may not
        be available. See, e.g., Drexel Burnham, 148 B.R. at 991 (“[T]he claim may be estimated only if it is not
        disallowed by § 502(e)(1)(B).”).

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11 U.S.C. § 509(c); see also 4 Collier on Bankruptcy ¶ 509.04.4 Accordingly, if the holder of a

tort claim receives satisfaction of his claim – through a judgment or potentially even a settlement

against a jointly liable indemnity/contribution claimant – the indemnity/contribution claim is not

subordinated. By way of example, if a tort claimant were to receive and be paid on a judgment

against a non-Debtor third party, jointly, by way of a jury verdict, the tort claimant arguably

would have received the full payment to which he was entitled (i.e. “paid in full”), and when the

non-Debtor third party filed an indemnity or contribution claim against NECP, that claim would

be pari passu (i.e. rank equally) to the claims of all other creditors. That would then dilute

distributions to all other unsecured creditors, including other tort claimants. Likewise, if the

non-Debtor third party were permitted to assert the claims of the underlying tort claimant

through subrogation, that claim would have a similar dilutive effect on other unsecured creditors,

notwithstanding that the underlying tort claimant herself received full payment. Thus, under any

scenario, judgments against certain non-Debtor third parties may provide for full judgments to

some individual plaintiffs, while reducing the recovery of all other claimants in NECP’s Chapter

11 Case.




4
       Bankruptcy Code Sections 502(e) and 509(c) have been held to apply wherever there is “a shared liability
       to the same party on the same claim” by the debtor and the claimant. See 4 Collier on Bankruptcy
       ¶ 502.06[2][b]; see also In re Baldwin-United Corp., 55 B.R. 885, 890 (Bankr. S.D. Ohio 1985) (“The
       phrase, ‘an entity that is liable with the debtor’ is broad enough to encompass any type of liability shared
       with the debtor, whatever its basis.”). Thus, courts have applied those provisions to tort-based claims. See
       Juniper Dev. Grp. v. Kahn (In re Hemingway Transport, Inc.), 993 F.2d 915, 924 (1st Cir. 1993) (applying
       Bankruptcy Code Section 502(e)(1)(B) to “joint and several” tort-based obligations). However, claims for
       “indemnification” of legal fees have been held to be outside the restrictions of Bankruptcy Code Sections
       502(e) and 509(c), as the liability for such fees does not have its “origins in a primary liability to the
       underlying [t]ort [p]laintiff.” See In re Chemtura Corp., 436 B.R. 286, 296 (Bankr. S.D.N.Y. 2010); but
       see Drexel Burnham, 146 B.R. at 97 (finding that defense costs and the underlying action for
       indemnification were “simply different facets of the same unified whole”, thus they all fell under
       Bankruptcy Code Section 502(e)(1)(B)).

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       9.      Although the rule is typically that contribution and reimbursement claims are

treated pari passu where the underlying creditor’s claim is paid in full, Bankruptcy Code Section

510(c)5 does permit the Bankruptcy Court to equitably subordinate contribution and

reimbursement claims after a trial on an adversary proceeding (a plenary action) against the

subject creditor against whom subordination is sought. However, in order to equitably

subordinate a claim, (i) the claimant must have engaged in inequitable conduct; (ii) the

misconduct must have led to injury to creditors or given an unfair advantage to the claimant; and

(iii) equitable subordination of the claim must not be inconsistent with the Bankruptcy Code.

See Merrimac Paper Co. v. Harrison (In re Merrimac Paper Co.), 420 F.3d 53, 59 (1st Cir. 2005);

see also In re Mobile Steel Co., 563 F.2d 692 (5th Cir. 1977). Thus, in order to equitably

subordinate indemnification and contribution claims to those of tort claims, the Trustee would be

required to litigate in a plenary action whether, with respect to each indemnity/contribution

claimant, the circumstances of each such claimant’s conduct satisfy the Mobile Steel test at the

expense of the estate and other creditors.

       10.     These provisions regarding contribution and indemnification claims create ample

opportunities for litigation and uncertainty, increasing the cost to the estate if they are not

controlled and supervised by this Court through centralization in this MDL proceeding. For

example, there may be disagreement as to whether judgments with third parties satisfy the “paid

in full” requirement pursuant to Section 509(c) such that the non-Debtor third party’s claim is


5
       Under Bankruptcy Code Section 510(c), “…after notice and a hearing, the court may—

               (1) under principles of equitable subordination, subordinate for purposes of distribution all or part
               of an allowed claim to all or part of another allowed claim or all or part of an allowed interest to
               all or part of an allowed interest; or

               (2) order than any lien securing such a subordinated claim be transferred to the estate.

       11 U.S.C. § 510(c).

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subordinated. Or there may be issues as to whether such claims may be disallowed as contingent

before there is any opportunity provided to resolve the contingency. Finally, litigation as to

equitable subordination will cause the estate to incur significant additional expense, particularly

in light of its highly fact-specific nature.

II.     The Court Has A Limited Ability To Control Discovery Of NECP

        11.     If this Court were to deny the Trustee’s Transfer Motion, and the state court

actions were permitted to go forward against non-Debtor third parties, this Court would have

very little ability to control discovery in those actions, including discovery against NECP. The

automatic stay imposed by NECP’s Chapter 11 Case would not prevent discovery against the

Debtor in connection with cases in which the Debtor is not a party. See 3 Collier on Bankruptcy

¶ 362.03 (“Litigation in which the debtor is not a party and that only collaterally affects the

debtor is not stayed. For example, discovery against the debtor in an action against defendants

other than the debtor is not stayed.”) (citing In re Carlson, 265 B.R. 346 (Bankr. D.R.I. 2001)).

The only opportunity the Trustee would have to affect discovery would be through individual

plenary actions, typically brought before the Bankruptcy Court, against the parties seeking

discovery, by which NECP would argue that the discovery would adversely affect the debtor's

estate, frustrate the statutory scheme embodied in the Bankruptcy Code or interfere with the

debtor's efforts to reorganize. See, e.g., 11 U.S.C. § 105(a); North Star Contracting Corp. v.

McSpedon (In re North Star Contracting Corp.), 125 B.R. 368, 370-71 (S.D.N.Y.1991) (staying

action against non-debtor president of debtor when, among other things, continuation of action

would distract vital non-debtor and there was no distinct cause of action against him, but merely

an action commenced solely to circumvent the stay). Forcing the Trustee to either submit to

discovery or engage in multiple, contentious and highly-litigated suits over extension of the



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bankruptcy stay will cause significant expense to the estate. If instead the cases were transferred

to this Court, this Court could control and supervise discovery through case management orders,

similar to those that have already been entered in this case.

       12.     Any discovery sought from the Trustee by a plaintiff in an action not transferred

to this Court (a “Non-Transferee Plaintiff”) would be conducted exclusively through the state

court letter rogatory process, over which the Court could exercise little or no control.

       13.     Under this process, a Non-Transferee Plaintiff would request that the court in

which its action is pending issue a letter rogatory. The Non-Transferee Plaintiff would then file

an application in Massachusetts state court based on the letter rogatory, seeking an order

allowing discovery to be conducted within the Commonwealth. See G.L. c. 233, § 45; G.L.

c. 233A, § 11. The state court would then rule on the application and, if it were granted, notice

would be provided only to the parties to the out-of-state action. See G.L. c. 233A, § 11.

       14.     In addition to limiting this Court’s much-needed control over discovery sought

from the Trustee, the use of the letter rogatory process would no doubt lead to waste and

duplication of effort. Not only would the Trustee have to provide documents and testimony that

would likely otherwise be produced in this case, but the Trustee would be subject to individual,

uncoordinated letter rogatory applications from each Non-Transferee Plaintiff.

       15.     This an unreasonable burden to place on the Trustee, who will otherwise be

involved in intensive discovery overseen by this Court.          Moreover, it would result in an

unjustified waste of the limited resources remaining in the Debtor’s estate.               In addition,

discovery as to NECP’s affiliates, shareholders, directors and other related parties located in

Massachusetts would likely also be subject to the above process. This would inevitably increase

indemnification claims against the estate.



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       16.      The Official Committee, seeking not only this Court’s coordination of discovery

but also to avoid unnecessary waste, believes this is a further reason to grant the Trustee’s

Transfer Motion.

III.   The Mechanics Of Transferring Cases To This Court

       17.      The Official Committee also wishes to address the mechanics of transfer, as

discussed at the Hearing.     If this Court grants the Trustee’s Transfer Motion, the Official

Committee suggests the following process.

       18.      This Court would first enter an order (the “Transfer Order”) pursuant to 28 U.S.C.

§ 157(b)(5) transferring the cases listed in the Trustee’s Notice of Filing of Second Amended

Schedule of Pending Actions [Case No. 13-2419, Dkt. No. 92]. See Order Granting Petition of

Debtors-in-Possession Pursuant to 28 U.S.C. § 157(b)(5), In re Metabolife Int’l, Inc., Case No.

05-01802 [Dkt. No. 29] (S.D. Cal. Nov. 3, 2005) attached hereto as Exhibit A; see also Opinion

and Order, In re Twin Labs. Inc., Case No. M-47 (S.D.N.Y. Nov. 3, 2003) attached hereto as

Exhibit B.

       19.      Pursuant to the Transfer Order, this Court would approve the form Notice of

Removal and Transfer Pursuant to 28 U.S.C. § 157(b)(5) (the “Notice”) attached hereto as

Exhibit C. The Trustee would file the Notice in this Court to effect removal of all future cases

filed in various state courts throughout the country.

       20.      Alternatively, if needed, this Court could enter a supplemental order (the

“Supplemental Order”) identifying the specific actions to be transferred to this Court. See

Supplemental Order Regarding Transfer of Cases Pursuant to 28 U.S.C. § 157(b)(5), In re

Metabolife Int’l, Inc., Case No. 05-01802 [Dkt. No. 31] (S.D. Cal. Dec. 5, 2005) attached hereto

as Exhibit D.



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       21.     Lastly, the Official Committee wishes to emphasize that the Transfer Order

would, per the Trustee’s representation, transfer cases to this Court for discovery purposes only.

See Memorandum of Law in Support of Chapter 11 Trustee’s Motion to Transfer Personal Injury

Tort and Wrongful Death Cases to this Court Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334

[Case No. 13-2419, Dkt. No. 38] at 8 (cases are coordinated for pretrial purposes); Omnibus

Memorandum in Reply to Various Oppositions and In Further Support of Chapter 11 Trustee’s

Motion to Transfer [Case No. 13-2419, Dkt. No. 146] at 12 (“parallel state court actions threaten

not only to undermine this Court’s ability effectively to manage discovery and pretrial

proceedings but also, ultimately, to achieve global settlement”); see also Joinder of the Official

Committee of Unsecured Creditors to (I) the Trustee’s Motion to Transfer Personal Injury Tort

and Wrongful Death Cases to this Court Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334 and (II)

the Trustee’s Memorandum in Opposition to Motion for Mandatory Abstention and In Further

Support of Motion to Transfer All Related Actions to the District of Massachusetts [Case No. 13-

2419, Dkt. No. 138] at 6.

       22.     At the proper time or if particular circumstances of their case warranted transfer,

the parties can move this Court for appropriate relief. Depending on the circumstances, parties

would have the authority to move, with (or even without) the Trustee’s consent, for an order




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transferring or remanding the case back for trial to the initial transferor court. See 28 U.S.C.

§ 157(b)(5);6 28 U.S.C. § 1334(c)(1);7 28 U.S.C. § 1404(a);8 28 U.S.C. § 1406(a);9 28 U.S.C.

§ 1452(b).10 Both 28 U.S.C. § 1334(c)(1) and 28 U.S.C. § 1452, as equitable remedies, would

permit this Court to transfer cases from this Court back to individual state courts directly.

       23.      Contrary to the suggestion of counsel for the Roanoke Plaintiffs during argument

before the Court on May 14, 2013, transfer would not impair those plaintiffs’ due process rights

or rights to a jury trial. See Transcript of Status Conference/Motion Hearing at 53:20-24. Per

the Trustee’s Transfer Motion, transfer to this Court would be for purposes of discovery and case

administration during this phase of the litigation. Simply put, the transferred cases would be

supervised, coordinated and controlled in the same manner as the cases presently before this

Court in the MDL Proceeding and would be returned to their home jurisdictions for trial in the

event that they were not resolved here in coordination with the Debtor’s Chapter 11 Case in the

manner articulated in the Trustee’s submissions. It should be noted that even if the cases were

transferred to this Court for all purposes pursuant to Bankruptcy Code Section 157(b)(5) – which

is allowed by that section but beyond the relief sought by the Trustee – the plaintiffs in the




6
       28 U.S.C. § 157(b)(5): “The district court shall order that personal injury tort and wrongful death claims
       shall be tried in the district court in which the bankruptcy case is pending, or in the district court in the
       district in which the claim arose, as determined by the district court in which the bankruptcy case is
       pending.”
7
       28 U.S.C. § 1334(c)(1): “Except with respect to a case under chapter 15 of title 11, nothing in this section
       prevents a district court, in the interest of justice, or in the interest of comity with State courts or respect for
       State law, from abstaining from hearing a particular proceeding arising under title 11 or arising in or related
       to a case under title 11.”
8
       28 U.S.C. § 1404(a): “For the convenience of parties and witnesses, in the interest of justice, a district court
       may transfer any civil action to any other district or division where it might have been brought or to any
       district or division to which all parties have consented.”
9
       28 U.S.C. § 1406(a): “The district court of a district in which is filed a case laying venue in the wrong
       division or district shall dismiss, or if it be in the interest of justice, transfer such case to any district or
       division in which it could have been brought.”
10
       28 U.S.C. § 1452(b): “The court to which such claim or cause of action is removed may remand such claim
       or cause of action on any equitable ground.”

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transferred cases would, of course, continue to have their right to a jury trial before this Court.

28 U.S.C. § 157(b)(5); 28 U.S.C. § 1411.

       24.     The Official Committee believes that this would be an appropriate process in

order to expeditiously and efficiently transfer all cases to this Court.

                                          CONCLUSION

       For the reasons set forth herein and in all the submissions made by the Trustee and the

Official Committee in connection with the Trustee’s Transfer Motion, the Official Committee

respectfully requests that this Court grant the Trustee’s Transfer Motion.

Dated: May 20, 2013
       Boston, Massachusetts

                                           BROWN RUDNICK LLP

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                                           Counsel to the Official Committee of Unsecured
                                           Creditors of New England Compounding Pharmacy,
                                           Inc.




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                                CERTIFICATE OF SERVICE

        I, Carol S. Ennis, hereby certify that on May 20, 2013, I caused a copy of the foregoing
Post-Hearing Memorandum of the Official Committee of Unsecured Creditors in Support of
Chapter 11 Trustee’s Motion to Transfer Personal Injury Tort and Wrongful Death Cases to this
Court Pursuant to 28 U.S.C. § 157(B)(5) and 1334 to be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent
to those indicated as non-registered participants, by first class mail, postage prepaid.



Dated: May 20, 2013
Boston, Massachusetts                        /s/ Carol S. Ennis
                                             Carol S. Ennis
61162684




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                        EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                  )
IN RE: NEW ENGLAND COMPOUNDING )                       Docket No. __________________________
PHARMACY, INC. PRODUCTS LIABILITY )                    (Related to Docket No. 1:13-md-2419-FDS)
LITIGATION                        )
                                  )
                                  )                    NOTICE OF REMOVAL AND TRANSFER
                                  )                    PURSUANT TO 28 U.S.C. § 157(b)(5)
                                  )
                                  )                    (Transferred from: [NAME OF STATE
                                  )                    COURT AND STATE COURT CASE NO.]
                                  )
                                  )
IN RE: NEW ENGLAND COMPOUNDING )                       Docket No. __________________________
PHARMACY CASES                    )                    (Related to Master Docket No. 12-12052-FDS)
                                  )
                                  )
                                  )

          In accordance with the Opinion and Order issued on [DATE] by the Honorable Dennis F.

Saylor, IV, Judge, United States District Court for the District of Massachusetts (the “Order”),

notice is hereby given as follows:

          1.     Pursuant to 28 U.S.C. § 157(b)(5), this case is removed and transferred from the

[NAME OF STATE COURT], Case No. [STATE COURT CASE NUMBER] (the “State

Court Action”) to this Court. (A copy of the Order is attached as Exhibit A.)

          2.     The Clerk of Court in the State Court Action will be directed to transfer the entire

court case filed pertaining to this action to the Clerk of the District of Massachusetts within

twenty-one (21) days of filing in the State Court Action of a Notice of Filing of Notice of

Removal and Transfer Pursuant to 28 U.S.C. § 157(b)(5).

          3.     A Notice of Filing of Notice of Removal and Transfer Pursuant to 28 U.S.C.

§ 157(b)(5) promptly is being filed with the Clerk of Courts in the State Court Action and

provided to all parties of record.


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          For the foregoing reasons, this action is hereby removed and transferred from the

[NAME OF STATE COURT] to this Honorable Court.

Dated:          [DATE OF REMOVAL]
                [LOCATION]

                                                  Respectfully submitted,

                                                  ____________________________________
                                                  [REMOVING COUNSEL]

                                                  Attorneys for [REMOVING DEFENDANT]




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                        EXHIBIT D
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